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 1 IRELL & MANELLA LLP
   Jason G. Sheasby (CA SBN 205455)
 2 jsheasby@irell.com
   Hong (Annita) Zhong (CA SBN 266924)
 3
   hzhong@irell.com
 4 Yanan Zhao (CA SBN 337864)
   yzhao@irell.com
 5 1800 Avenue of the Stars, Suite 900
   Los Angeles, California 90067
 6 Telephone: (310) 277-1010
   Facsimile: (310) 203-7199
 7

 8 Attorneys for Plaintiff Netlist, Inc.

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11                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
12                                    SAN JOSE DIVISION
13
     NETLIST, INC.,                         )   Case No. 5:22-mc-80337-VKD
14                                          )
                           Plaintiff,       )   Pending in: The United States District Court for
15          v.                              )   the Eastern District of Texas, Marshall Division
                                            )   No. 2:21-cv-463-JRG
16 MONTAGE TECHNOLOGY, INC. AND             )
   MONTAGE TECHNOLOGY CO., LTD.,            )   Hearing Date: January 31, 2023
17                                          )   Time: 10:00 AM PT
                Defendant.                  )   Magistrate Judge Virginia K. DeMarchi
18                                          )
19
            PLAINTIFF NETLIST, INC.’S REPLY IN SUPPORT OF ITS MOTION TO
20                COMPEL COMPLIANCE OF SUBPOENA BY MONTAGE
              TECHNOLOGY, INC. AND MONTAGE TECHNOLOGY CO., LTD.
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 1          Montage fails to raise proper objections to Netlist’s motion to compel deposition on the

 2 specific questions it provided in Exhibit 24. Montage does not dispute that Montage CA is the

 3 general manager of Montage Shanghai. Netlist properly served its subpoenas on Montage Shanghai

 4 through Montage CA, and this Court has proper jurisdiction to enforce the subpoenas. See City of

 5 Roseville Employees’ Ret. Sys. v. Apple Inc., 2021 WL 1176641, *13 (N.D. Cal. Mar. 19, 2021).

 6          Before filing this instant Action, Netlist made reasonable efforts to minimize the burden on

 7 Montage, including by limiting its request to a 5-hour deposition of Montage engineer(s) on the

 8 specific questions Netlist provided relating to the operation and function of Montage components

 9 used in the accused instrumentalities in the underlying patent infringement action. See Ex. 1. Netlist

10 repeatedly sought, but could not acquire, information regarding the operation of Montage’s products

11 from parties in the infringement action. See Zhong Decl. at 1; Dkt. 1-19 (2022-07-18 Samsung

12 Email) (“We also point out, as you should be well aware, most of the relevant components

13 implicated by Netlist’s contentions are third party components.”). As early as August 18, 2022,

14 Netlist provided Montage with a list of its patent claims asserted in the patent infringement action

15 and explained why the datasheets and JEDEC specifications identified by Montage are insufficient

16 to answer the subpoena requests. Dkt. 1-21. Neither Montage entity disputed the relevance of the

17 requested information. Montage must be compelled to comply with the subpoena and provide a

18 witness to testify as to the questions listed in Netlist’s Exhibit 24.

19 I.       NETLIST COMPLIED WITH L.R. 37-2

20          As an initial matter, Montage’s argument that Netlist did not comply with Rule 37-2 is

21 baseless. Netlist attached a copy of the relevant subpoenas to its motion to compel (Dkt. 1-11, 1-

22 12), and also set forth each of its narrowed requests in full in Ex. 24. In its Motion, Netlist asked

23 that Montage “be compelled to provide witness(es) to attend deposition as to topics and questions

24 identified in Ex. 24.” Dkt. 1 at 19.

25          Montage Technology Co. Ltd. (“Montage Shanghai” or “Montage”) has not provided formal

26 responses or objections to these requests, so there were no “objections and/or responses” to submit.
27 Indeed, Montage took the position that it was not obligated to provide written responses because

28 service was supposedly improper in a letter—which Netlist submitted with its Motion. Dkt. 1-23 at


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 1 answered by Montage’s document production or JEDEC specifications.

 2          D.      Netlist’s Narrowed List of Requests Reduce the Burden on Montage

 3          The list of questions Netlist moves to compel on clearly reflects a good-faith effort by Netlist

 4 to narrow its discovery requests as much as possible to ease any burden on Montage. As explained

 5 above, the requests in Ex. 24 are narrower, more specific iterations of Netlist’s previous requested

 6 Topics 3-4, 9, and 16. Thus, the list provided by Netlist does not “hinder[] the ability of Montage to

 7 respond and the Court to assess the alleged discoverability of the requested information,” Opp. at 8,

 8 but rather, reduces the overall burden on Montage as much as possible. Netlist explained in its

 9 correspondence with Montage and in its Motion that this list reflects Netlist’s effort to “further

10 narrow[] the scope of its discovery requests.” Mot. at 8; Ex. 1 at 3 (2022-12-20 Netlist Email to

11 Montage) (“To focus the scope of our request and make it easier to prepare a witness, here attached

12 is a more detailed list of issues that we would like to question a Montage witness on.”).

13          The list was “disclosed to Montage . . . just before Netlist’s Motion was filed” because Netlist

14 provided this substantially narrowed list as a final effort to avoid motion practice and negotiate in

15 good faith. As part of this effort, Netlist also offered to cap a deposition on these questions to a 5-

16 hour remote deposition, accommodate a deposition in Chinese, and “accommodate the witness’s

17 schedule.” Ex. 1. Montage rejected Netlist’s efforts, offering only a witness to authenticate the

18 documents and confirm Montage’s components complied with JEDEC standards, which Netlist had

19 already repeatedly explained was not sufficient to respond to its requests. Id. at 1-2. It is common,

20 and indeed encouraged, for parties to confer and negotiate in good faith before resorting to motion

21 practice. Netlist should not be punished for its effort to resolve the parties’ discovery disputes

22 without the court’s intervention by requesting less from Montage than in its original subpoenas.

23          E.      Montage Cannot Show an Undue Burden Caused by Complying with the
                    Subpoena
24
            “When making a determination as to whether document production is protected from
25
     disclosure under Chinese or any other foreign law, it is important to note that [t]he party relying on
26
     foreign law has the burden of showing such law bars production [of documents or information].”
27
     Microsoft Corp. v. Hon Hai Prec. Ind. Co., Ltd., 2020 WL 8991669, at *4 (N.D. Cal. Feb. 12, 2020).
28


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 1 Montage cannot carry out its burden to allege specific facts demonstrating the burden presented by

 2 Netlist’s requests. Netlist has provided multiple avenues for Montage to comply—either producing

 3 relevant source code or a brief deposition on the narrow questions provided in Ex. 24. But Montage

 4 refused to offer any flexibility or negotiate on potential production. See supra I.B.

 5          Montage also argues that it would be burdensome to identify the specific source code and

 6 that it would need permission from the Chinese authorities to provide such information, but it fails

 7 to explain why a remote deposition on Netlist’s narrow list of questions would be burdensome. Opp.

 8 at 20. Montage’s claims about what Chinese law “may” require do not rise to the level of certainty

 9 required to show that the cited laws should preclude enforcement of the subpoena. Opp. at 17; see

10 Microsoft, 2020 WL 8991669, at *4 (finding the party “has not met its burden to excuse its

11 noncompliance with the… discovery order based on foreign law” because it “has not established

12 that foreign law actually bars disclosure of the . . . specific documents and information at issue”).

13          Finally, Montage suggests that Netlist’s motion to compel is too late. That is simply not true.

14 Netlist noticed Montage of its intent to file the motion before the fact discovery of the patent

15 infringement action closed. The motion was also filed on December 21, before the deadline for

16 motions to compel as set in the scheduling order in the patent infringement action. Dkt. 1-15 at 4

17 (deadline to file motions to compel discovery is set for December 22, 2022). That Netlist has already

18 served its infringement expert report is of no moment. Additional discovery from Montage would

19 still be useable at trial (which is scheduled for May 2023), and the Eastern District of Texas routinely

20 grants leave for parties to supplement expert reports based on discovery produced after the fact

21 discovery/expert deadline. E.g. Huawei Techs. Co. Ltd. v. T-Mobile US, Inc., 2017 WL 4619791, at

22 *4 (E.D. Tex. Oct. 16, 2017) (granting leave to supplement reports with information produced after

23 discovery deadline). In fact, both parties in the underlying action have filed discovery motions which

24 are set to be heard by Judge Gilstrap on January 19, 2023. Tex. Action, Dkt. 165. And, in the event

25 the Court grants Netlist’s motion and leave was needed to take Montage’s deposition (which it is

26 not), the E.D. Tex. Court has routinely granted such requests.
27          F.      The Protective Order Is Sufficient to Protect Montage’s Confidential
                    Information
28


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 1          To the extent Montage contends that it is overly risky for it to produce confidential

 2 information, Opp. 19, that argument lacks merit because it has not explained why the Protective

 3 Order in the underlying patent infringement case would not be sufficient to protect Montage’s

 4 confidential information. See Rich v. Butowsky, 2020 WL 5910069, at *4 (N.D. Cal. Oct. 6, 2020)

 5 (denying motion to quash subpoena because “the Protective Order provides adequate safeguards”

 6 for the confidentiality concerns of the defendant); Handloser v. HCL Am., Inc., 2020 WL 4700989,

 7 at *4 (N.D. Cal. Aug. 13, 2020) (“to address [a party’s] concerns about confidentiality, plaintiffs

 8 proposed that [they] could designate any unreviewed portion of its document production as highly

 9 confidential under the protective order. These efforts are precisely what Rule 45 requires.”). Indeed,

10 Netlist provided the protective order in connection with its subpoenas but Montage never raised any

11 objections to the protective order in place in the patent infringement action or alleged that it would

12 not provide sufficient protection.

13 III.     THE SUBPOENAS ON MONTAGE SHANGHAI WERE PROPERLY SERVED

14          Montage’s arguments regarding service ignore the factual record as well as the case law

15 from this District. Because the subpoena was personally served on Montage Shanghai’s general

16 manager, Montage CA, service was proper and the subpoena is enforceable.

17          A.       Netlist Personally Served the Subpoenas On Montage Through Its CA Agent.3

18          Netlist personally served the October 5 subpoenas on Montage CA through its registered
19 agent for service, Sherry Shi. Ex. 2 (signed proof of service). Neither Montage nor Montage CA

20 disputed that fact in the parties’ written responses or other meet-and-confers. Indeed, Montage’s

21 counsel reached out to Netlist on October 20, 2022, stating:

22         We are in receipt of two subpoenas purportedly directed to Montage Technology Co.,
           Ltd. by way of service on a subsidiary, Montage Technology, Inc.
23
     Dkt. 1-23 at 1 (Barlett ltr.). Netlist does not have to prove its personal service because Montage
24
     never disputed that fact and admitted the receipt of service. Id. But out of an abundance of caution,
25
     Netlist hereby submits the signed proof of service by the server. Ex. 2 (signed proof of service).
26
            Montage attempts to argue that Netlist is precluded from responding to its new arguments
27

28          3
                Montage does not dispute that the service of subpoenas on Montage CA is appropriate.

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 1 about service because submitting the signed proof of service would be “new evidence.” Opp. at 8,

 2 n. 6. But the signed proof of service is not “new evidence” as contemplated in World Lebanese

 3 Cultural Union, Inc. v. World Lebanese Cultural Union of New York, Inc, 2011 WL 5118525, at *6,

 4 n.3 (N.D. Cal. Oct. 28, 2011). Netlist is not raising a new “issue” or argument by providing proof

 5 of service, but rather, providing evidence “properly limited to responding to [Montage’s] arguments

 6 in its opposition.” See In re PersonalWeb Techs., LLC, 2019 WL 1975432, at *1 (N.D. Cal. Feb. 6,

 7 2019). The fact that Netlist served Montage on October 5 is also not “new.” Netlist stated that it

 8 served Montage Shanghai via its subsidiary on October 5 in its opening brief, provided the

 9 subpoenas as exhibits, and proffered evidence that Montage received the subpoenas. Dkt. 1 at 6;

10 Dkt. 1-11, 1-12.4

11          B.      Montage’s Arguments Regarding Rule 4 Are Inconsistent with This District’s
                    Case Law
12
            Montage’s argument that Rule 4 does not apply to Rule 45 subpoenas ignores the case law
13
     of this District. As explained in Netlist’s opening brief, the Northern District of California has
14
     provided that courts may “rely on Rule 4 to fill in the gaps with respect to the adequacy of service
15
     of [a] Subpoena under Rule 45.” City of Roseville, 2021 WL 1176641, at *13. Specifically, the court
16
     in City of Roseville declined to follow the decision from Viasat, Inc. v. Space Sys./Loral, LLC, 2014
17
     WL 12577593, at *5 (S.D. Cal. June 30, 2014) relied on by Montage, and ultimately concluded that:
18
            [W]hile there may be specific situations where the requirements of Rule 45 and Rule
19          4 diverge with respect to service, it is permissible to look to Rule 4 to fill in gaps
20          where those divergences are not implicated, as many courts have done.
                                                 5
21 City of Roseville, 2021 WL 1176641 at *5, n.6.

22          4
              Even if the proof of service was considered “new evidence,” the local rules specifically
23   contemplate new evidence submitted in a reply brief and provide that “[i]f new evidence has been
     submitted in the reply, the opposing party may file and serve an Objection to Reply Evidence.” L.R.
24   7-3(c)-(d). This rule negates any concern that Montage will be denied the opportunity to respond to
     this evidence. See In re PersonalWeb, 2019 WL 1975432 at *1 (“When a party raises a new
25
     argument or presents new evidence in a reply brief, a court may consider these matters only if the
26   adverse party is given an opportunity to respond”) (internal quotations omitted).
            5
27          City of Roseville rejected the position in unpublished decisions from other districts relied
     on by Montage. SiteLock, LLC v. GoDaddy.com, LLC, 338 F.R.D. 146, 153 (D. Or. 2021).
28


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 1          Courts in the Ninth Circuit and across the country have followed this same approach. E.g.

 2 Sanchez Y Martin, S.A. de C.V. v. Dos Amigos, Inc., 2018 WL 2387580, at *3 (S.D. Cal. May 24,

 3 2018) (“[t]here appears to be a growing trend [] among courts to allow substitute service of a Rule

 4 45 subpoena []so long as the method of service is reasonably calculated to provide timely, fair notice

 5 and an opportunity to object or file a motion to quash”); Paisley Park Enters., Inc. v. Boxill, 2019

 6 WL 1036059, at *3 (D. Minn. Mar. 5, 2019) (“Rule 45 also does not specify what constitutes

 7 personal service on a corporation,” and “Courts often rely on the service requirements of [FRCP] 4

 8 to fill this gap”); MGA Ent., Inc. v. Nat’l Prods., Ltd., 2011 WL 13130709, at *2 (C.D. Cal. Dec.

 9 20, 2011) (same); In re Subpoena to Dunhuang Grp., 2019 WL 2150947, at *5 (E.D. Mich. May 17,

10 2019) (“service [of a subpoena] on a foreign entity is proper in a manner prescribed by Rule 4(f)”);

11          Notably, cases cited by Montage only note that there are distinctions between Rule 4 and

12 Rule 45, but they do not preclude the court from using Rule 4 to fill gaps in Rule 45 where those

13 distinctions are not implicated. F.T.C. v. Compagnie De Saint-Gobain-Pontà-Mousson, 636 F.2d

14 1300, 1311 (D.C. Cir. 1980) (discussing how service by mail to a foreign citizen on foreign soil

15 was not permitted because the “distinction between service of notice and service of compulsory

16 process is a crucial one”); Blumenthal Distrib., Inc. v. Herman Miller, Inc., 2015 WL 12778353, at

17 *2 (C.D. Cal. Oct. 22, 2015) (finding service on an individual in a foreign country was ineffective

18 because Rule 4 explicitly excludes this form). Montage’s reliance on Fujikura Ltd. v. Finisar Corp.

19 is also inapposite because that case was decided before City of Roseville, and Fujikura found

20 “service by mail” rather than “personal delivery” of a subpoena was not appropriate. 2015 WL

21 5782351, at *5-*8 (N.D. Cal. Oct. 5, 2015).

22          Unlike these cases, Netlist personally delivered the subpoenas on the general manager of

23 Montage Shanghai located in California. Thus, the distinction that Rule 4 does not require personal

24 service while Rule 45 does is not implicated here. Indeed, the “minority position” referred to in

25 Wright & Miller’s treatise is that personal service of a Rule 45 subpoena “is [not] required and

26 alternatively… service of a subpoena under Rule 45 [is] proper absent personal service.” 9A Wright
27 & Miller § 2454 (3d ed. April 2022 update) (emphasis added). By contrast, the position adopted in

28 City of Roseville is that Rule 4 may be used to fill gaps as to “what constitutes personal service on


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 1 a corporation,” which is not provided by Rule 45. City of Roseville, 2021 WL 1176641 at *3

 2 (emphasis added). City of Roseville in fact specifically distinguished the case from those where the

 3 court declined to find that Rule 45 did not require personal service. Id. at *14 (“[i]n contrast to the

 4 cases discussed above, the Subpoena at issue in this case was not served by alternative means”). As

 5 explained above, supra III.A, Netlist personally served the subpoena on Montage CA. Under CA

 6 law, this is sufficient to serve Montage because Montage CA is a “general manager” for Montage.

 7          Montage’s failure to distinguish, or even address, City of Roseville is telling. Montage does

 8 not offer any argument that Montage CA does not act as a general manager for Montage under

 9 California law, effectively conceding that if this court follows the persuasive authority from its own

10 district, it should find that service on Montage via its California subsidiary was proper. Additionally,

11 the Jin Declaration (Dkt. No. 18-2) (“Jin Decl.”), submitted with the Opposition, confirms Netlist’s

12 argument that Montage serves as a liaison between U.S. customers and Montage: “To perform its

13 U.S. role, Montage CA needs to be able to help customers understand the functionality of Montage

14 products.” Jin Decl., ¶6.

15          C.      Netlist Seeks Compliance Within 100 Miles of Montage CA’s Office, Where
                    Montage Regularly Conducts Business
16
     Montage next argues that Netlist’s subpoena on Montage Shanghai is facially defective because the
17
     purported place of compliance is beyond the 100-miles geographical limit. Opp. at 17-18. Montage
18
     effectively takes the position that courts can almost never enforce subpoenas on corporations
19
     headquartered in foreign countries. This is not the case. California district courts have enforced
20
     subpoenas on foreign entities requiring compliance in the United States before, as have other federal
21
     courts. See City of Roseville, 2021 WL1176641, at *10 & id. Dkt. 141-11 (compelling compliance
22
     with the subpoena which required a Taiwan based company served through its U.S. based
23
     subsidiary, to produce documents in San Francisco); Wultz v. Bank of China, 298 F.R.D. 91, 96
24
     (S.D.N.Y. 2014) (non-party Israeli bank compelled to provide deposition testimony in a New York
25
     lawsuit by videoconference from Israel). Further, as explained in Netlist’s opening brief, Montage’s
26
     argument regarding Rule 45(c) lacks merit in this context because Netlist’s subpoena requires
27
     Montage to produce documents and attend depositions within 100 miles of Montage CA’s office.
28


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 1 Montage conducts business through its arrangement with Montage CA in California.

 2           The cases cited by Montage are distinguishable, as they do not address the issue of service

 3 of subpoena through a general manager of a foreign entity where compliance is requested within

 4 100 miles from where the general manager has a physical presence. Cf. Uniloc USA, Inc. v. Apple

 5 Inc., 2020 WL 6262349 (N.D. Cal. Oct. 23, 2020) (denying Apple’s motion to compel document

 6 production in California because the subpoenaed entity was located in Kirkland, Washington and

 7 there was no service of subpoena on any general manager); Dhillon v. Does 1-10, 2013 WL

 8 12144121 (N.D. Cal. July 21, 2013) (denying plaintiff’s motion to compel subpoena for document

 9 production in San Francisco where the plaintiff served the subpoena at the third party’s Los Angeles

10 address and there was no service of subpoena on any general manager). By contrast, here, Netlist

11 filed this motion in this District, and seeks compliance in this District less than 100 miles from

12 where Montage regularly conducts business through its general manager.

13 IV.       THIS COURT HAS PERSONAL JURISDICTION OVER MONTAGE

14           A.      This Court Has Personal Jurisdiction over Netlist’s Enforcement Action for
                     Subpoenas Served on Montage Shanghai through Its General Manager
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             This Court should also reject Montage’s argument that this Court does not have personal
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     jurisdiction to enforce the subpoena. If service is proper, the court sitting in the district where
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     compliance is required has jurisdiction over the parties for issues related to the subpoena. Rule 45(c)
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     specifies that “[a] subpoena may command a person to attend a trial, hearing, or deposition within
19
     100 miles of where the person resides, is employed, or regularly transacts business in person.” This
20
     Court’s jurisdiction over the parties in this action arises from its proximity to the place of
21
     compliance. Cf. Montgomery v. Risen, 2015 WL 12672825 (S.D. Cal. Nov. 5, 2015) (dismissing
22
     motion to compel subpoena for lack of personal jurisdiction because the “place of compliance is…
23
     a city outside of this district. Therefore, there is no authority for this Court’s jurisdiction.”).
24
             Montage argues that Netlist relies on “imprecise language,” but there are cases in this circuit
25
     explaining specifically “[j]urisdictional analysis is inappropriate for analyzing Rule 45 because it
26
     responds to an entirely different set of concerns.” Regents of Univ. of Cal. v. Kohne, 166 F.R.D.
27
     463, 464 (S.D. Cal. 1996). As explained in Kohne, the specific or general jurisdiction analysis is
28


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 1 driven by “concerns both as [to] the reasonable limits of the power of the state, and as to the

 2 requirement that a party be at least fairly on notice that its conduct would subject it to that state’s

 3 laws.” Id. By contrast, “[i]n considering when a non-party witness may be commanded by subpoena

 4 to appear, however, the court does not consider the forum state’s power or the notice to the witness,

 5 but only the burden to the witness of being required to physically appear.” Id. “This is the only

 6 concern of Rule 45(c).” Id. As another example, in Wultz, 298 F.R.D. 91, a non-party Israeli bank

 7 was compelled to provide deposition testimony in a New York lawsuit by videoconference from

 8 Israel. The bank was “subject to this Court's subpoena jurisdiction by virtue of having a branch

 9 office in New York” (emphasis added) where it conducted business. Id. at 98. Montage specifically

10 stated in its Annual Report that Montage CA was its California branch. See, Dkt. 1-28; see also Opp.

11 at 16 (“the supposed ‘branch’ office is that of the subsidiary, Montage CA”). Thus, Montage is

12 subject to this Court’s subpoena jurisdiction.

13          Montage’s citation to Halo is misplaced. In Halo, the defendant moved to dismiss the entire

14 case based on the plaintiff’s insufficient service of process and lack of personal jurisdiction—as

15 opposed to a subpoena enforcement action. Halo Elecs. Inc.v. Bel Fuse Inc., 2010 WL 2605195, at

16 *4 (N.D. Cal. June 28, 2010). Schwarzenegger v. Fred Martin Motor Co., 374 F.3d 797 (9th Cir.

17 2004) offers Montage no better help either because this case is also about a motion to dismiss a

18 plaintiff’s claims for lack of personal jurisdiction and the Ninth Circuit applied the minimum contact

19 test to a traditional tort action. Id. Neither Halo nor Schwarzenegger addressed the question of

20 whether this Court has personal jurisdiction to enforce a subpoena that is properly served on a third-

21 party through its general manager located in the same district where the Court is located.

22          B.     Montage Does Not Address Its Contacts with Montage CA

23          In the event this Court finds a separate personal jurisdiction analysis is required, specific

24 jurisdiction exists because this action arises out of Montage’s contacts with the forum state, namely,

25 its contacts with California related to the documents and information about the operation of Montage

26 components supplied to Samsung. Montage argues that this action does not arise out of its contacts
27 with California because the subpoenas are related to an underlying dispute in Texas. Opp. at 17.

28 This argument fails because this court is not adjudicating the underlying patent infringement dispute


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 1 or bad faith on the part of the requesting party, Rule 45(c)(1) sanctions are inappropriate.” Mount

 2 Hope Church v. Bash Back!, 705 F.3d 418, 429 (9th Cir. 2012). Sanctions are not appropriate here

 3 because Netlist has made a good-faith effort to tailor its information requests to the immediate needs

 4 of the case and avoid burdening Montage as much as possible. See supra I. The Ninth Circuit has

 5 stated that courts should “not read ‘undue burden’ differently just because a non-party was

 6 subpoenaed.” Mount Hope, 705 F.3d at 429. Additionally, Netlist’s subpoena is not facially invalid,

 7 particularly in light of the recent precedent of this District. City of Roseville, 2021 WL 1176641; see

 8 also Supra II. Thus, even if this court rules against Netlist’s Motion to Compel, it should not award

 9 attorney’s fees merely because Montage had to litigate this motion. See Mount Hope, 705 F.3d at

10 429 (“Sanctions for issuing a subpoena are in no way supported merely because a party advocated

11 a position in seeking discovery that lost in the end.”).

12          The two cases Montage cited to support its request for sanctions are inapplicable here. In In

13 re NCAA Student-Athlete Name & Likeness Licensing Litig., the court noted that the subpoena

14 issuing party failed to “consider[] additional limitations to the breadth of the document requests

15 based on these objections and invitations to negotiate. Instead, [the issuing party] rejected reasonable

16 attempts to compromise, as discussed above, and ended the negotiations with respect to the scope

17 of the document requests by stating that further efforts to meet and confer ‘would be fruitless.’”

18 2012 WL 629225, at *8 (N.D. Cal. Feb. 27, 2012). Unlike NCAA Student, here Netlist made repeated

19 efforts to reach a compromise with Montage, including by limiting its subpoenas to a 5-hour

20 deposition as to specific questions listed in Netlist’s Exhibit No. 24. See supra I.B. And in

21 LegalZoom.com v. Rocket Law. Inc., the court found that the plaintiff “has not met its burden of

22 establishing that it took ‘reasonable steps’ to avoid imposing an undue burden on non-party.” 2015

23 WL 12832823, at *2 (N.D. Cal. Mar. 23, 2015). Even there, the court did not impose sanctions, but

24 asked the subpoenaed entity to provide further briefing on that issue. Id. at *3. Montage falls far

25 short from showing that Netlist’s conduct is sanctionable. See Fujikura, 2015 WL 5782351, at *8

26 (denying requests for sanction).
27 VI.      CONCLUSION

28          Netlist respectfully requests that its motion to compel subpoena be granted.


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 1 Dated: January 17, 2023                      Respectfully submitted,

 2                                              IRELL & MANELLA LLP

 3                                              By: /s/ Yanan Zhao
                                                   Jason G. Sheasby
 4                                                 jsheasby@irell.com
                                                   Hong (Annita) Zhong
 5
                                                   hzhong@irell.com
 6                                                 IRELL & MANELLA LLP
                                                   1800 Avenue of the Stars, Suite 900
 7                                                 Los Angeles, California 90067
                                                   Telephone: (310) 277-1010
 8                                                 Facsimile: (310) 203-7199
 9
                                                   Attorneys for Plaintiff Netlist, Inc.
10

11                               CERTIFICATE OF SERVICE

12         I hereby certify that, on January 17, 2023, a copy of the foregoing was served to all

13 counsel of record.

14                                                         /s/ Yanan Zhao
                                                           Yanan Zhao
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